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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 4:12CB3001-002
                                                      Violation No. W0793990

NYLE T. BARTLING
                       Defendant
                                                      CLARENCE MOCK
                                                      Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                                       (For a Petty Offense)

THE DEFENDANT pleaded guilty to the allegation listed in CVB violation numbers W0793990 on
5/4/2012

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded               Num ber(s)
           16 U.S.C 703, 50 CFR 20.21(j),                  3/16/2011                   1
            50 CFR 20.22, 50 CFR




The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                     May 4, 2012

                                                                                 s/ Cheryl R. Zwart
                                                                     United States Magistrate Judge

                                                                               May 9, 2012
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of 2 Years.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the special conditions that have been adopted by this court
(set forth below) in addition to the standard conditions stated in court.


                          SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall not hunt, trap, or be in the company of anyone else who is
        hunting or trapping during the term of probation.

2.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall
        North, 530 U.S. Courthouse, Lincoln, Nebraska, (402) 437-1920, as directed by the
        probation officer.


                        STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed
        by the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
5.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
6.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
7.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
8.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
9.      The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
10.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer.
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                           CRIMINAL MONETARY PENALTIES

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

     Special Assessment                   Total Fine                Total Processing Fee

            $10.00                         $2000.00                      $25.00




                                             FINE

A Fine in the amount of $2000.00 is imposed. The interest requirement is waived for the
two-year term of probation.

                                        RESTITUTION

No Restitution is ordered.
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                                     SCHEDULE OF PAYMENTS

The defendant shall pay the processing fee in the amount of $25.00 immediately.

The criminal monetary penalty is due in full by the end of the term of probation. The defendant
is obligated to pay said sum immediately if he or she has the capacity to do so. The United
States of America may institute civil collection proceedings at any time to satisfy all or any
portion of the criminal monetary penalty.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: processing fee; restitution; fine; and other penalties. Unless
otherwise specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Central Violations Bureau, P.O. Box
71363, Philadelphia, PA 19176-1363.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
docum ent which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
